              Case 23-12531-pmm                   Doc 1     Filed 08/24/23 Entered 08/24/23 23:24:24                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Education Works Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  990 Spring Garden Street
                                  Suite 601
                                  Philadelphia, PA 19123
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Philadelphia                                                    Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       educationworks.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Education Works Inc.                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
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Debtor    Education Works Inc.                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Education Works Inc.                                                          Case number (if known)
         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case 23-12531-pmm                   Doc 1      Filed 08/24/23 Entered 08/24/23 23:24:24                                  Desc Main
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Debtor    Education Works Inc.                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      August 24, 2023
                                                  MM / DD / YYYY


                             X /s/ Marc Orlow, Esquire                                                    Marc Orlow, Esquire
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Board Chair




18. Signature of attorney    X /s/ Georgette Miller                                                        Date August 24, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Georgette Miller PA-86358 Michelle Lee
                                 Printed name

                                 Dilworth Paxson LLP
                                 Firm name

                                 1500 Market Street
                                 Suite 3500E
                                 Philadelphia, PA 19102
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     856-323-1100                  Email address


                                 PA-86358 PA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Education Works Inc.

United States Bankruptcy Court for the:     EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration    Corporate Resolution
                                                                Attached Addendums

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 24, 2023                 X /s/ Marc Orlow, Esquire
                                                           Signature of individual signing on behalf of debtor

                                                            Marc Orlow, Esquire
                                                            Printed name

                                                            Interim Board Chair
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                  Document     Page 7 of 143
 Fill in this information to identify the case:

 Debtor name            Education Works Inc.

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,570,193.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,570,193.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        2,483,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        1,012,175.77

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,463,058.70


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           4,958,234.47




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
          Case 23-12531-pmm                  Doc 1    Filed 08/24/23 Entered 08/24/23 23:24:24                              Desc Main
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Fill in this information to identify the case:

Debtor name      Education Works Inc.

United States Bankruptcy Court for the:   EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number


          3.1.   TD Bank                                         checking                        4975                                             $0.00




          3.2.   PNC Bank                                        business checking plus          4081                                             $0.00




          3.3.   TD Bank                                         checking                        4357                                             $0.00



                                                                 checking (operating
          3.4.   TD Bank                                         account)                        4959                                             $0.00



4.        Other cash equivalents (Identify all)


          4.1.   Blackbaud Giving Fund Check                                                                                                $250.00




          4.2.   Blackbaud Giving Fund Check                                                                                                $400.00




Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                                page 1
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Debtor           Education Works Inc.                                                     Case number (If known)
                 Name




          4.3.     Employee Retention Check                                                                                    $831,205.41




5.        Total of Part 1.                                                                                                   $831,855.41
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Possible deposits with landlords for various properties.                                                      Unknown



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                         $0.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                   324,317.00      -                                     0.00 = ....        $324,317.00
                                       face amount                          doubtful or uncollectible accounts




          11b. Over 90 days old:                      428,819.00      -                                    0.00 =....          $428,819.00
                                       face amount                          doubtful or uncollectible accounts



          11b. Over 90 days old:                      301,218.00      -                                    0.00 =....          $301,218.00
                                       face amount                          doubtful or uncollectible accounts



          11b. Over 90 days old:                      627,701.00      -                                    0.00 =....          $627,701.00
                                       face amount                          doubtful or uncollectible accounts



          11b. Over 90 days old:                      355,000.00      -                                    0.00 =....          $355,000.00
                                       face amount                          doubtful or uncollectible accounts




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                 page 2
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Debtor       Education Works Inc.                                                           Case number (If known)
             Name


          11b. Over 90 days old:                       62,128.00       -                                  0.00 =....                   $62,128.00
                                      face amount                             doubtful or uncollectible accounts



          11b. Over 90 days old:                       70,360.00       -                                  0.00 =....                   $70,360.00
                                      face amount                             doubtful or uncollectible accounts



          11b. Over 90 days old:                             0.00      -                                  0.00 =....                    Unknown
                                      face amount                             doubtful or uncollectible accounts



          11b. Over 90 days old:                             0.00      -                                  0.00 =....                    Unknown
                                      face amount                             doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                      $2,169,543.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
                                                                           debtor's interest         for current value       debtor's interest
                                                                           (Where available)

39.       Office furniture
          various items at used store prices
          tvs, furniture, fixtures all owned by EW, but
          copiers/printers leases with fraser                                        Unknown                                            Unknown



40.       Office fixtures

41.       Office equipment, including all computer equipment and

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3
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Debtor        Education Works Inc.                                                           Case number (If known)
              Name

           communication systems equipment and software
           various computers/office
           equipment/phones/fitbit/7 apple watches
           offsite and onsite

           laptop inventory list held by KPI. 24 chrome
           books accounted for at office
           employees still have phones/computer                                      Unknown                                            Unknown


           Julia Hillengas - in possession of
           computers/phones/other equipment                                          Unknown                                            Unknown



42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                                 $0.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                            Net book value of          Valuation method used   Current value of
                                                                          debtor's interest          for current value       debtor's interest
                                                                          (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           educationworks.org                                                              $0.00                                             $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor        Education Works Inc.                                                         Case number (If known)
              Name

           Donor list                                                                    $0.00                                        Unknown



64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                          Current value of
                                                                                                                          debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)
           employee retention tax credit
           submitted 4/23 for all employees retained as of 1st and
           3rd quarter of 2021. Other funds may be pending but
           require follow-up for remainder                                                   Tax year 2021                         $568,794.59


           employee retention tax credit
           additional quarters may be available but not submitted.
           A third party accounting firm submitted only for 1st/3rd
           of 21. Certain conditions had to be met                                           Tax year                                 Unknown



73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
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Debtor      Education Works Inc.                                                    Case number (If known)
            Name

         Julia Hillengas/PowerCorpPHL/City of
         Philadelphia/unknown individuals
         breach of duty of loyalty, breach of good faith dealings,
         tortious interference with business, defamation
         caused loss of contracts totaling over 8 million                                                           Unknown
         Nature of claim          tortious interference, breach of
                                  duty of loyalty, breach of good
                                  faith dealings
         Amount requested                               $0.00


         Powercorp phl transfer -
         EW paid Powercorp credit cards/bills/employees and
         owed reimbursement from PowerCorp program                                                                  Unknown
         Nature of claim         setoff
         Amount requested                          $0.00



76.      Trusts, equitable or future interests in property

77.      Other property of any kind not already listed Examples: Season tickets,
         country club membership

78.      Total of Part 11.                                                                                       $568,794.59
         Add lines 71 through 77. Copy the total to line 90.

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                      page 6
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Debtor          Education Works Inc.                                                                                Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $831,855.41

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,169,543.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $568,794.59

91. Total. Add lines 80 through 90 for each column                                                         $3,570,193.00            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,570,193.00




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Addendum

Schedule A/B Explanation



11. Accounts Receivable

Mayor's Office of Civic Engagement/City of Philadelphia

Dispute with Pennserve over payment. Corrective Action Plan ("CAP") submitted timely but
Executive Director failed to reply to calls. Received a letter that CAP was not adequate without
any explanation and advised that Pennserve would deal with City exclusively.



Philadelphia Works

Declined to pay approved funds because of issues related to PennServe. Additional receivables
require preparation and submission.



PCCD Anti-Violence

Amounts owed potentially exceed $627,701.00 or more. Additional receivables require
preparation and submission. $800,000 dispute over reimbursable funds and which contract
reimbursements should be made.



72. Other Cash Equivalents

Employee retention tax credit: Anticipated a check for 1.4 million, but only $831,205.41
received. Trustee should inquire about the status of the remainder. Funds for additional years
should be applied for.



75. Other contingent & unliquidated claims

Julia Hillengas/PowerCorpPHL/City of Philadelphia/unknown individuals: breach of duty
of loyalty, breach of good faith dealings, tortious interference with business, defamation that
caused loss of contracts and/or grants totaling over 8 million.

Hillengas formed PowerCorpPHL on 12/28/2022 without the knowledge of Education Works.
Hillengas used an address for a property leased by Education Works and took over the leased
premises without Education Works knowledge.
           Case 23-12531-pmm                         Doc 1       Filed 08/24/23 Entered 08/24/23 23:24:24                                       Desc Main
                                                               Document      Page 16 of 143
Fill in this information to identify the case:

Debtor name          Education Works Inc.

United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                                   Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
2.1    Reinvestment Fund                            Describe debtor's property that is subject to a lien                   $2,483,000.00               $428,819.00
       Creditor's Name                              Over 90 days old: Mayor's Office of Civic
                                                    Engagement/City of Philadelphia

                                                    This asset may be more or less than the
                                                    estimated current value. Debtor reserves the
                                                    right to amend.
       1700 Market Street                           See addendum
       Philadelphia, PA 19103
       Creditor's mailing address                   Describe the lien
                                                    UCC
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9600
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative        Disputed
       priority.



                                                                                                                            $2,483,000.0
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       0

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Peter Elliot
        1717 Arch Street                                                                                      Line   2.1
        Suite 400
        Philadelphia, PA 19103

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 2
         Case 23-12531-pmm           Doc 1     Filed 08/24/23 Entered 08/24/23 23:24:24                Desc Main
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Debtor    Education Works Inc.                                             Case number (if known)
          Name


      Tarik Brooks
      Greenberg Traurig LLP                                                        Line   2.1
      1717 Arch Street
      suite 400
      Philadelphia, PA 19103




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property          page 2 of 2
           Case 23-12531-pmm                        Doc 1      Filed 08/24/23 Entered 08/24/23 23:24:24                                        Desc Main
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Fill in this information to identify the case:

Debtor name        Education Works Inc.

United States Bankruptcy Court for the:          EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                               $743.75         $743.75
          Aaron Coleman                                       Check all that apply.
                                                                 Contingent
                                                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             $1,800.00         $1,800.00
          Aaron Townson                                       Check all that apply.
          2718 S Sheridan St                                     Contingent
          Philadelphia, PA 19148                                 Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:


          Last 4 digits of account number 2742                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 76
                                                                                                              55195
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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,828.00   $2,828.00
         Abigail Torres                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,640.16   $10,640.16
         Adrian McGill                                      Check all that apply.
         524 Wartman St                                        Contingent
         Philadelphia, PA 19128                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,362.50   $1,362.50
         Ahmad Shubert                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $650.00    $650.00
         Ahzhay Jackson                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2 of 76
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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,784.00   $4,784.00
         Alana Cooper-Russ                                  Check all that apply.
         500 Chews Landing Road                                Contingent
         Clementon, NJ 08021                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2107               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $837.50    $837.50
         Alex Hernandez                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Alexander Bermudez                                 Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Alexis Gonzalez                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.11     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,678.19   $5,678.19
         Ali Martinez                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.12     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,710.03   $7,710.03
         Alijandrina Martinez                               Check all that apply.
         4850 D Street                                         Contingent
         Philadelphia, PA 19120                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2097               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.13     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,166.69   $0.00
         Allisa Lopez                                       Check all that apply.
         4801 N 10th Street                                    Contingent
         Philadelphia, PA 19141                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.14     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $950.00    $950.00
         Andy Martinez                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.15     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $593.75    $593.75
         Angel Layes                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.16     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,914.00   $1,914.00
         Anjanett Reese                                     Check all that apply.
         1116 E Mt Airy Ave, Apt c7                            Contingent
         Philadelphia, PA 19150                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2588               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.17     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,516.00   $2,516.00
         Anthony Maldonado                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.18     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Anthony Odom Jr                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.19     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,525.00   $2,525.00
         Anthony Turner JR                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.20     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,640.16   $10,640.16
         Antoinette Chambliss                               Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.21     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,525.00   $2,525.00
         Anton Jackson                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.22     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,203.13   $1,203.13
         Antwan Youngbey                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.23     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Asher Robinson                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.24     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,516.00   $2,516.00
         Ashleigh Marshall                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.25     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,560.00   $5,560.00
         AShley Pearsall                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.26     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $968.75    $968.75
         Ashly Seawright                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.27     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,625.00   $1,625.00
         Basheer Hairston                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.28     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,466.13   $2,466.13
         Bashir Boulton                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.29     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Branden Gordan                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.30     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         brandon watts                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.31     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,216.75   $2,216.75
         Brenda Johnson                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.32     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $875.00    $875.00
         Brennan Schmidt                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.33     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,200.00   $1,200.00
         Brian Davis                                        Check all that apply.
         641 Kerper St                                         Contingent
         Philadelphia, PA 19111                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2660               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.34     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,768.00   $2,768.00
         Briani Buxton                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.35     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,142.00   $2,142.00
         Brianna Bey                                        Check all that apply.
         1260 Kerper St                                        Contingent
         Philadelphia, PA 19111                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2048               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.36     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,020.00   $3,020.00
         Brianna Lopez Popote                               Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.37     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,705.00   $2,705.00
         Caleb Gravely                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.38     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,464.00   $1,464.00
         Camerin Williams                                   Check all that apply.
         4061 Powelton Ave                                     Contingent
         Philadelphia, PA 19104                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2184               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.39     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,525.00   $2,525.00
         Camiren Williams                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.40     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,640.16   $10,640.16
         Carlos Alvarez                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.41     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,705.75   $2,705.75
         Carmen Nieves-Dorvil                               Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.42     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $83.50    $83.50
         Caseem McNair                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.43     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,897.47   $5,897.47
         Cassius Cohen                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.44     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,120.00   $3,120.00
         Celeste Peterson                                   Check all that apply.
         1329 N 60th                                           Contingent
         Philadelphia, PA 19151                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2569               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.45     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,116.69   $6,116.69
         Charlene Newbill                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.46     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,553.16   $8,553.16
         Cheryl McFadden                                    Check all that apply.
         1504 E Duval Street                                   Contingent
         Philadelphia, PA 19138                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2246               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
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2.47     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,737.50   $1,737.50
         Christian Sullivan=Pelzer                          Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.48     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,550.00   $1,550.00
         Christopher Ocasio Skerrett                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.49     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $20,769.17   $0.00
         Claire Allamby                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.50     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $668.75    $668.75
         Conway Wiltshire                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.51     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,306.25   $1,306.25
         Dahnek Milliner                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.52     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $6,359.22   $6,359.22
         Dana Griffith                                      Check all that apply.
         549 E Maryland Street                                 Contingent
         Philadelphia, PA 19144                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2566               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.53     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $18,015.00   $15,150.00
         Daniel Lawson                                      Check all that apply.
         731 Manton St                                         Contingent
         Philadelphia, PA 19147                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2046               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.54     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $950.00    $950.00
         Daquan Eaddy                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.55     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,738.80   $1,738.80
         Darlell Jones                                      Check all that apply.
         5322 N Pulaski Ave, Apt B                             Contingent
         Philadelphia, PA 19144                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2591               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.56     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $3,860.00   $3,860.00
         Darryl Ford                                        Check all that apply.
         7912 Michener Avenue                                  Contingent
         Philadelphia, PA 19150                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2153               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.57     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,350.00   $1,350.00
         David Dickerson                                    Check all that apply.
         4019 Markland Street                                  Contingent
         Philadelphia, PA 19124                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2596               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.58     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $12,115.40   $12,115.40
         Dawn Johnsn                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.59     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,400.00   $1,400.00
         Deborah Robinson                                   Check all that apply.
         2519 S Ashford Street                                 Contingent
         Philadelphia, PA 19153                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2005               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.60     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,116.69   $6,116.69
         Demetrics McGhee                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.61     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Denzel Johnson                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.62     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,240.00   $4,240.00
         Destiny Lewis                                      Check all that apply.
         881 N Farson St                                       Contingent
         Philadelphia, PA 19139                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2013               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.63     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $13,382.40   $13,382.40
         Devin Hamilton                                     Check all that apply.
         5110 Pulaski Ave                                      Contingent
         Philadelphia, PA 19144                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2646               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.64     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $3,031.25   $3,031.25
         Devonte Grant                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.65     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $6,705.55   $6,705.55
         Dominic Speach                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.66     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $7,153.70   $7,153.70
         Donna Williams-Griffin                             Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.67     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $762.50    $762.50
         Dwayne Graham                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.68     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,965.50   $1,965.50
         Edwin Murchison Jr                                 Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.69     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,175.00   $1,175.00
         Edwom Soler III                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.70     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,516.00   $2,516.00
         Eli Perez                                          Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.71     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,516.00   $2,516.00
         Elijah Pagan                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.72     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,823.13   $2,823.13
         Ella Combs                                         Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.73     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,327.00   $2,327.00
         Erica Kane                                         Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.74     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,205.00   $2,205.00
         Erica Wade                                         Check all that apply.
         210 N 9th Street                                      Contingent
         Darby, PA 19023                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.75     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,184.00   $2,184.00
         Ethan Smith                                        Check all that apply.
         4142 N. Darien St                                     Contingent
         Philadelphia, PA 19140                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2556               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.76     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,639.00   $2,639.00
         Event Morris                                       Check all that apply.
         7167 Glenloch St                                      Contingent
         Philadelphia, PA 19135                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2655               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.77     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Fatimah Cahoon                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.78     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,250.00   $1,250.00
         Frank Rivera                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.79     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,136.32   $8,136.32
         Gentris Jointe                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.80     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,315.74   $5,315.74
         George Dorsey                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.81     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,516.00   $2,516.00
         Geraldy Gomez Urena                                Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.82     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,143.80   $2,143.80
         Germinha Gabriel                                   Check all that apply.
         1720 Bleigh Avenue                                    Contingent
         Philadelphia, PA 19111                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2128               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.83     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,224.63   $2,224.63
         Ghandi Powell                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.84     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,306.00   $2,306.00
         Gloria Alexander                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.85     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,250.00   $11,250.00
         Greg Smith                                         Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.86     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $21,119.74   $15,150.00
         Gregory DeLozier                                   Check all that apply.
         417 Fordham Rd                                        Contingent
         Woodbury Heights, NJ 08097                            Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2781               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.87     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,063.26   $7,063.26
         Haydeelin Martinez De Jesus                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.88     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,944.00   $6,944.00
         Hiram Joseph                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.89     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,090.85   $5,090.85
         Ian Ross                                           Check all that apply.
         297 Horton Road                                       Contingent
         Newtown Square, PA 19073                              Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1996               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.90     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,980.25   $2,980.25
         Ikia Phelps                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.91     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,600.00   $2,600.00
         Inaya Badie                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.92     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,236.29   $11,236.29
         Isaac Roman                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.93     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,298.13   $2,298.13
         Jacqueline Briggs                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.94     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $3,031.25   $3,031.25
         Jade Fox                                           Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.95     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Jaguar Patterson                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.96     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,118.75   $1,118.75
         Jahquill Brown-Watson                              Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.97     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,380.00   $3,380.00
         Jaiden Liggett                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.98     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Jaleel Harley                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
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2.99     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $556.64    $556.64
         Jaleel Williford                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.100    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,343.50   $1,343.50
         James Burke                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.101    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,720.99   $8,720.99
         James Plewes                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.102    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,137.00   $1,137.00
         Jamil Johnson                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.103    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $24,230.79   $15,150.00
         Jamil Rivers                                       Check all that apply.
         429 School House Rd                                   Contingent
         Williamstown, NJ 08094                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.104    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,100.00   $2,100.00
         Jamil Williams                                     Check all that apply.
         3056 N Swanson St                                     Contingent
         Philadelphia, PA 19134                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2670               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.105    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $6,823.99   $6,823.99
         Jaribel James                                      Check all that apply.
         7903 Gilbert Street                                   Contingent
         Philadelphia, PA 19150                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            back wages

         Last 4 digits of account number 1838               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.106    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,878.64   $10,878.64
         Jasmine Oglesby                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.107    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,020.00   $3,020.00
         Jaydrian Calzadilla                                Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.108    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Jazmyn Bladen                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.109    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,100.00   $1,100.00
         Jeffery Woodard                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.110    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $875.00    $875.00
         Jeffrey Williams Jr                                Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.111    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,531.00   $6,531.00
         Jenae Washington                                   Check all that apply.
         128 S 54th St Apt B                                   Contingent
         Philadelphia, PA 19139                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2557               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.112    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,516.00   $2,516.00
         Jennifer Cedeno Aquino                             Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.113    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $83.75    $83.75
         Jevon Laguerre                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.114    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $593.75    $593.75
         Jewel Scott                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.115    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,025.00   $1,025.00
         John Valdivia Moreno                               Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.116    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $6,116.69   $6,116.69
         John White                                         Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.117    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $12,503.12   $12,503.12
         John Williams                                      Check all that apply.
         1522 S Patton Street                                  Contingent
         Philadelphia, PA 19146                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.118    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,456.00   $1,456.00
         Joseph Beideman Jr                                 Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.119    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $11,664.00   $11,664.00
         Joseph Johnson                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.120    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $18,876.00   $15,150.00
         Julia Hillengas                                    Check all that apply.
         5128 Larchwood Avenue                                 Contingent
         Philadelphia, PA 19143                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2452               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.121    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,062.00   $1,062.00
         Julius Clark                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.122    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,236.50   $2,236.50
         June Gredic-Almond                                 Check all that apply.
         1426 S 31st Street                                    Contingent
         Philadelphia, PA 19146                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2006               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
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2.123    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,962.50   $1,962.50
         Justice Goldsmith                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.124    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,624.53   $6,624.53
         Kalef Jones                                        Check all that apply.
         4516 N Camac St                                       Contingent
         Philadelphia, PA 19140                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2829               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.125    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Kasir Spearman                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.126    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Keanan Flood                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.127    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,382.00   $1,382.00
         Kelly Wilson                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.128    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,824.00   $10,824.00
         Kenya Baldwin                                      Check all that apply.
         6304 Ogontz Ave                                       Contingent
         Philadelphia, PA 19141                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2571               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.129    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,739.13   $2,739.13
         Kenya Hamilton                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.130    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $3,440.00   $3,440.00
         Kenzie Bornstein                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.131    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Keshaun Glover                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.132    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,070.00   $1,070.00
         Kevin Brown                                        Check all that apply.
         6004 Nassau Road                                      Contingent
         Philadelphia, PA 19151                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2558               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.133    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $950.00    $950.00
         Khalil Green                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.134    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,773.00   $5,773.00
         Khaneshia Gredic                                   Check all that apply.
         1426 S 31st St                                        Contingent
         Philadelphia, PA 19146                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2536               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
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2.135    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,872.00   $1,872.00
         Kimberly Hunter                                    Check all that apply.
         1906 Foulkrod Place                                   Contingent
         Philadelphia, PA 19124                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2009               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.136    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,194.50   $2,194.50
         Kristina Way                                       Check all that apply.
         1222 W Tucker Street                                  Contingent
         Philadelphia, PA 19133                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1998               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.137    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,200.00   $5,200.00
         Labrina Brown                                      Check all that apply.
         3541 N 19th St                                        Contingent
         Philadelphia, PA 19140                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2570               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.138    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,010.00   $5,010.00
         Larbina Brown                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.139    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,846.50   $3,846.50
         Latif Burnett                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.140    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,031.25   $3,031.25
         Latifah Douglas                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.141    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $9,803.70   $9,803.70
         Latoria Williams-Anderson                          Check all that apply.
         7332 Briar Road                                       Contingent
         Philadelphia, PA 19138                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2058               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.142    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,980.50   $1,980.50
         Lillie Lewis                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.143    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,699.45   $2,699.45
         Linda Pierce                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.144    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,483.54   $4,483.54
         Lisa Williams                                      Check all that apply.
         231 N Paxon St                                        Contingent
         Philadelphia, PA 19139                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2288               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.145    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $650.00    $650.00
         Lisair Scott                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.146    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,211.50   $2,211.50
         Mabel Harrell                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.147    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,492.80   $0.00
         Marcus Bradford                                    Check all that apply.
         250 Virginia Ave                                      Contingent
         folsom, PA 19033                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2538               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.148    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,904.50   $2,904.50
         Marcus Mitchell                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.149    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,625.00   $1,625.00
         Marcus Wilson                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.150    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $593.70    $593.70
         Mark Williams                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.151    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,903.06   $1,903.06
         Markesha Miler                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.152    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,231.25   $1,231.25
         Marquan Williams                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.153    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $9,845.00   $9,845.00
         Matthew Woodruff                                   Check all that apply.
         263 E Meehan Avenue                                   Contingent
         Philadelphia, PA 19119                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2040               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.154    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,289.75   $5,289.75
         Maurice Cosby                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.155    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Mecca Betrand                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.156    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,301.65   $7,301.65
         Megan Spivey                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.157    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,176.90   $6,176.90
         Melinda Sanchez                                    Check all that apply.
         2107 Prior Road, Apt E                                Contingent
         Wilmington, DE 19809                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1999               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.158    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,385.20   $3,385.20
         Micealla Antoine                                   Check all that apply.
         5726 N Howard Street                                  Contingent
         Philadelphia, PA 19120                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2101               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.159    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,036.00   $8,036.00
         Michael Cappon                                     Check all that apply.
         206 Station Ave                                       Contingent
         Glenside, PA 19038                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2004               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.160    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,500.00   $6,500.00
         Michael Herrmann                                   Check all that apply.
         105 E Olive Street                                    Contingent
         Westville, NJ 08093                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1996               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.161    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,062.50   $1,062.50
         Michael Mickens                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.162    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,075.00   $2,075.00
         Miguel Cruz-Ortiz                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.163    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $1,118.75   $1,118.75
         Mikal Billups                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.164    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $31,004.30   $15,150.00
         Miles Wilson (Estate of)                           Check all that apply.
         c/o Stephanie Tryce                                   Contingent
         718 E Vernon Road                                     Unliquidated
         Philadelphia, PA 19119                                Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.165    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,332.25   $2,332.25
         Myliah Logan                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.166    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $875.00    $875.00
         Nadir Bryant-Brown                                 Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.167    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,739.00   $1,739.00
         Nafisa Owens                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.168    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $875.00    $875.00
         Nahfees LEvine                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.169    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $593.75    $593.75
         Najee Bilaal                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.170    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,250.00   $2,250.00
         Nakeil Green                                       Check all that apply.
         227 N Paxon St                                        Contingent
         Philadelphia, PA 19139                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2695               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.171    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Nasir Abdulshaheed                                 Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.172    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,657.75   $2,657.75
         natanjah Harvey                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.173    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,116.69   $6,116.69
         Nathali Raymon                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.174    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,135.87   $4,135.87
         Nekisha Walters                                    Check all that apply.
         1008 S 48th Street                                    Contingent
         Philadelphia, PA 19143                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
                                                            back wages

         Last 4 digits of account number 1875               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.175    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $593.75    $593.75
         Omar Colon                                         Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.176    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,554.25   $2,554.25
         Pamela Gray                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.177    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,557.50   $2,557.50
         Patricia Hamilton                                  Check all that apply.
         6719 N 4th St                                         Contingent
         Philadelphia, PA 19126                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2688               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.178    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,812.50   $1,812.50
         Paul Saunders                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.179    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,586.32   $6,586.32
         Pedro Soto                                         Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.180    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,557.68   $6,557.68
         Peta-Gaye Bullock                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.181    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,804.75   $2,804.75
         Precious Thompson                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.182    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,362.50   $1,362.50
         Preyton Lambert-Barefield                          Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.183    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,796.00   $1,796.00
         Quisean Barnes                                     Check all that apply.
         2207 W Sedgley Ave                                    Contingent
         Philadelphia, PA 19132                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2611               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.184    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $593.75    $593.75
         Rashawn Jones                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.185    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $856.25    $856.25
         Rasheed Lewis                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.186    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Rasheedah Roane                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.187    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $9,090.13   $9,090.13
         Renee Stewart                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.188    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,712.88   $2,712.88
         Renelda Dykes                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.189    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,957.62   $4,957.62
         Richard Amoako                                     Check all that apply.
         4226 Pine St, Apt 3f                                  Contingent
         Philadelphia, PA 19104                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2275               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.190    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,043.75   $1,043.75
         Richard Lebron                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.191    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,505.50   $2,505.50
         Robin Holloway                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.192    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,347.87   $6,347.87
         Romeo McCloud                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.193    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,820.50   $2,820.50
         Sabria Banks                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.194    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,031.25   $3,031.25
         Sahmir Milliner                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.195    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $6,116.69   $6,116.69
         Sametta Miller                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.196    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                       $593.75    $593.75
         Samir Corbin                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.197    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $2,516.00   $2,516.00
         Saul Luna                                          Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.198    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $10,384.65   $10,384.65
         Scott Lasley                                       Check all that apply.
         4564 Fleming Street                                   Contingent
         Philadelphia, PA 19128                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2466               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.199    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Selena Martinez                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.200    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,810.00   $2,810.00
         Selena Thoronka                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.201    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,100.00   $1,100.00
         Seliena Gonzalez                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.202    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,068.50   $2,068.50
         Serena Justice-Smith                               Check all that apply.
         5724 Warrington Ave                                   Contingent
         Philadelphia, PA 19143                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2008               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.203    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,301.65   $7,301.65
         Seth Henry Delozier                                Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.204    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,891.25   $1,891.25
         Shakia Harvey                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.205    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,306.25   $1,306.25
         Shakur James                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.206    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,031.25   $3,031.25
         Shamar Mays                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.207    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $875.38    $875.38
         Shameea Stewart                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.208    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,812.50   $1,812.50
         Shamir Boddie                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.209    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,116.69   $6,116.69
         Shanaya Shoats                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.210    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,906.25   $1,906.25
         Shane Armstrong                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.211    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Shaquille McGriff                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.212    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,401.46   $4,401.46
         Sharetta Savage                                    Check all that apply.
         3838 N Franklin Street                                Contingent
         Philadelphia, PA 19140                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 1881               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.213    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $9,865.00   $9,865.00
         Shelley Thomas                                     Check all that apply.
         2101 S College Ave                                    Contingent
         Apt 319 Mariner Bldg                                  Unliquidated
         Philadelphia, PA 19121                                Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2087               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.214    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,116.69   $6,116.69
         Shirah Gist                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor      Education Works Inc.                                                                     Case number (if known)
            Name

2.215    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,031.25   $3,031.25
         Siana Jordan-Naji                                  Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.216    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,346.16   $8,346.16
         Soledad Richards                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.217    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,031.25   $3,031.25
         Spencer Osley                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.218    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,768.75   $8,768.75
         Staci Price                                        Check all that apply.
         314 Evergreen Drive                                   Contingent
         Newark, DE 19702                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2226               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.219    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,062.50   $1,062.50
         Taliyah Barnes                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.220    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,153.81   $7,153.81
         Tamara Murray                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.221    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Terra Allen                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.222    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,712.88   $2,712.88
         Terrick Carson                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.223    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $4,328.00   $4,328.00
         Thurman Gravely                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.224    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $3,508.46   $3,508.46
         Tiara Sloan                                        Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.225    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $14,407.00   $14,407.00
         Tiffaney Waters                                    Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.226    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $5,187.00   $5,187.00
         Tiffany Hunley                                     Check all that apply.
         1320 N 27th St                                        Contingent
         Philadelphia, PA 19121                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2532               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.227    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,867.75   $2,867.75
         Tiffany Hunley                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.228    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $4,784.00   $0.00
         Tiffany Jones                                      Check all that apply.
         811 Pearl St                                          Contingent
         Camden, NJ 08102                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2432               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.229    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,116.69   $6,116.69
         Torjia Karimu                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.230    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,525.00   $2,525.00
         Tyheer Smith                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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            Name

2.231    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,712.88   $2,712.88
         Tyjuan Harris                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.232    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,031.25   $3,031.25
         Tylen Douglas                                      Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.233    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,212.00   $1,212.00
         Tyler Stone-Harrington                             Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.234    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,268.75   $1,268.75
         Tysir Robinson Gary                                Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.235    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,628.00   $5,628.00
         Variece McPherson                                  Check all that apply.
         4323 N 15th Street                                    Contingent
         Philadelphia, PA 19140                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2502               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.236    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,744.00   $5,744.00
         Virrencia Kearse                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.237    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,710.25   $2,710.25
         Wajeedah Schoefield                                Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.238    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $6,999.95   $6,999.95
         Waverly Harris                                     Check all that apply.
         1122 Angora Dr                                        Contingent
         Lansdowne, PA 19050                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2936               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.239    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $5,400.01   $5,400.01
         William Austin                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.240    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $8,120.70   $8,120.70
         William Barrera                                    Check all that apply.
         1717 Olive Street                                     Contingent
         Reading, PA 19604                                     Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2047               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.241    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                      $856.25    $0.00
         William Ford                                       Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.242    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,828.38   $2,828.38
         William Morrison                                   Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.243    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $2,712.38   $2,712.38
         Yasmine Montgomery                                 Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.244    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $7,959.84   $7,959.84
         Yvonne Bailey                                      Check all that apply.
         502 S 2nd Street                                      Contingent
         Darby, PA 19023                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number 2035               Is the claim subject to offset?

         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.245    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $1,287.50   $1,287.50
         Zachary Mendez                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.246    Priority creditor's name and mailing address       As of the petition filing date, the claim is:                     $3,031.25   $3,031.25
         Zadire Frazier                                     Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:


         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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2.247     Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $1,420.00   $0.00
          Zaki Bounds                                          Check all that apply.
          5511 Irving Street                                      Contingent
          Philadelphia, PA 19139                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:


          Last 4 digits of account number 2642                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,425.00
          a1 the pros llc                                                        Contingent
          508 Hoffman St                                                         Unliquidated
          Philadelphia, PA 19148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number 203A
                                                                             Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $5,650.00
          aaj design                                                             Contingent
          124 N 3rd St                                                           Unliquidated
          Philadelphia, PA 19106                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number 0c22
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,016.00
          Academy of Natural Sciences                                            Contingent
          1900 Benjamin Franklin Pkwy                                            Unliquidated
          Philadelphia, PA 19103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number 4000
                                                                             Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $14,057.00
          AM trust North America                                                 Contingent
          59 Maiden Lane 42nd Floor                                              Unliquidated
          New York, NY 10038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $1,397.00
          Ameriflex                                                              Contingent
          7 Carnegie Plaza                                                       Unliquidated
          #200                                                                   Disputed
          Cherry Hill, NJ 08003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 2253,9751,0773                     Is the claim subject to offset?     No       Yes




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3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $342.00
         apex pizza                                                   Contingent
         298 Levering Mill Rd                                         Unliquidated
         Bala Cynwyd, PA 19004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 1223
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,302.00
         Arthur Gallagher Risk Management                             Contingent
         40 W Front St                                                Unliquidated
         Media, PA 19063                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9910
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Arts and Crafts                                              Contingent
         601 Spring Garden St, stuie 500                              Unliquidated
         Philadelphia, PA 19123                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $3,212.00
         B&L janitorial services                                      Contingent
         915 Spring Garden St                                         Unliquidated
         Philadelphia, PA 19123                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4739
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $25,000.00
         Beacon Hill Staffing Group                                   Contingent
         1835 Market St Unit 725                                      Unliquidated
         Philadelphia, PA 19103                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9440
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,000.00
         Bellevue Communications Group                                Contingent
         200 S Broad St # 850                                         Unliquidated
         Philadelphia, PA 19102                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3798
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $900.00
         berks county community foundation                            Contingent
         237 Court St                                                 Unliquidated
         Reading, PA 19601                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2023
                                                                   Is the claim subject to offset?     No       Yes




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3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,015.00
         butterfly love consultations llc                             Contingent
         225 E City Ave #16                                           Unliquidated
         Bala Cynwyd, PA 19004                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 1147
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $91,943.00
         cambium carbon pbc                                           Contingent
         11 Dupont Cir Nw Ste 575                                     Unliquidated
         Washington, DC 20036                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2201
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         cedar advance                                                Contingent
         2917 Avenue I                                                Unliquidated
         Brooklyn, NY 11210                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,328.00
         chester county intermediate unit                             Contingent
         455 Boot Rd.                                                 Unliquidated
         Downingtown, PA 19335                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2535
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $800.00
         clay studio address                                          Contingent
         1425 N American Street                                       Unliquidated
         Philadelphia, PA 19122                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2112
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         CloudFund LLC                                                Contingent
         187 Wolf Rd, Suite 101                                       Unliquidated
         Albany, NY 12205
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: steve@peak-funding.com
         Last 4 digits of account number                           CloudFund LLC / Delta Bridge Funding Account
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $285.00
         comcast                                                      Contingent
         1701 John F Kennedy Blvd                                     Unliquidated
         Philadelphia, PA 19103                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0013
                                                                   Is the claim subject to offset?     No       Yes




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3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,014.00
         Concur Technologies, Inc.                                    Contingent
         62157 Collections Center Drive                               Unliquidated
         Chicago, IL 60693                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 8192
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,000.00
         copy products                                                Contingent
         101 E Township Line Rd                                       Unliquidated
         Upper Darby, PA 19082                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9476
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $300.00
         creative marketing alliance                                  Contingent
         191 Clarksville Rd                                           Unliquidated
         Princeton Junction, NJ 08550                                 Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0021
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,150.00
         crw graphics                                                 Contingent
         9100 Pennsauken Hwy                                          Unliquidated
         Pennsauken, NJ 08110                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9773
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $800.00
         CubeSmart Self Storage                                       Contingent
         777 Mayfair Street                                           Unliquidated
         Philadelphia, PA 19124                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: storage
         Last 4 digits of account number 4471                      Sale Date 9/19/2023
                                                                   email: store0549@cubesmart.com
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,587.00
         curalinc llc                                                 Contingent
         314 W Superior St #601                                       Unliquidated
         Chicago, IL 60654                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3564
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,592.00
         dba snelling                                                 Contingent
         111 SPRINGHALL DR                                            Unliquidated
         Goose Creek, SC 29445                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2148
                                                                   Is the claim subject to offset?     No       Yes




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3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $417.00
         de lage landen                                               Contingent
         1111 Old Eagle School Rd                                     Unliquidated
         Wayne, PA 19087                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 6182
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Diana Cortes, City Solicitor                                 Contingent
         city of philadelphia legal department                        Unliquidated
         1401 J.F.K. Blvd., 5th Floor                                 Disputed
         Philadelphia, PA 19102-1595
                                                                   Basis for the claim: notice only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         DocuVault                                                    Contingent
         1395 Imperial Way                                            Unliquidated
         Paulsboro, NJ 08066                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Tina Leiby Sutomer Account Manager -
         Last 4 digits of account number 5903                      tleiby@docuvaultdv.com
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         dynsasty                                                     Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,200.00
         Electronic Security Solutions                                Contingent
         5115 Campus Drive                                            Unliquidated
         Plymouth Meeting, PA 19462                                   Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 8033
                                                                   Is the claim subject to offset?     No       Yes

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $22,000.00
         enterprise rent a car                                        Contingent
         600 Corporate Park Drive;                                    Unliquidated
         Saint Louis, MO 63105                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4045
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,700.00
         fieldprint inc                                               Contingent
         12000 Commerce Pkwy #100,                                    Unliquidated
         Mount Laurel, NJ 08054                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3813
                                                                   Is the claim subject to offset?     No       Yes




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3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,937.00
         first contact HR                                             Contingent
         535 West Pennsylvania Ave. Suite 101                         Unliquidated
         Fort Washington, PA 19034                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 4370
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,755.00
         FMA Professional Resources Inc                               Contingent
         1494 Old York Rd,                                            Unliquidated
         Abington, PA 19001                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 0896
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,000.00
         fraser advanced info systems                                 Contingent
         Three Bala Plaza West                                        Unliquidated
         251 St Asaphs Rd Suite 105W                                  Disputed
         Bala Cynwyd, PA 19004
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 2004                      Is the claim subject to offset?     No       Yes


3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $700.00
         gallagher benefit services                                   Contingent
         100 Matsonford Road, Three, Radnor Corpo                     Unliquidated
         Radnor Corporate Center Suite 100,                           Disputed
         Wayne, PA 19087
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 9383                      Is the claim subject to offset?     No       Yes


3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,033.00
         great america                                                Contingent
         4701 Great America Pkwy                                      Unliquidated
         Santa Clara, CA 95054                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3555
                                                                   Is the claim subject to offset?     No       Yes

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,796.00
         Greater Philadelphia Chamber Commerce                        Contingent
         200 South Broad Street Suite 700                             Unliquidated
         Philadelphia, PA 19102                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9313
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $8,600.00
         Hanover Insurance Group                                      Contingent
         440 Lincoln Street;                                          Unliquidated
         Worcester, MA 01653                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2023
                                                                   Is the claim subject to offset?     No       Yes




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3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $45,500.00
         heart of the city inc                                        Contingent
                                                                      Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number                           Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $141,783.00
         independence blue cross                                      Contingent
         1901 Market Street                                           Unliquidated
         Philadelphia, PA 19103                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 5820
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $547.00
         infoarmor inc                                                Contingent
         7350 N Dobson Rd #101                                        Unliquidated
         Scottsdale, AZ 85256                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 6256
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $100.00
         ink it digital corporation                                   Contingent
         836 South St 2nd floor                                       Unliquidated
         Philadelphia, PA 19147                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         irs                                                          Contingent
         po box 7346                                                  Unliquidated
         Philadelphia, PA 19101                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: notice only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $53,760.00
         Jeme Consulting Group                                        Contingent
         7014 13TH AVENUE, SUITE 202                                  Unliquidated
         Brooklyn, NY 11228                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 9022
                                                                   Is the claim subject to offset?     No       Yes

3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $52,425.00
         Joyce Miller                                                 Contingent
         One Penn Center                                              Unliquidated
         1617 JFK Blv #1010                                           Disputed
         Philadelphia, PA 19103
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 5659                      Is the claim subject to offset?     No       Yes




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3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $88,000.00
         KPInterface                                                  Contingent
         477 N Lewis Rd                                               Unliquidated
         Unit 210                                                     Disputed
         Royersford, PA 19468
                                                                   Basis for the claim: leased equipment
         Date(s) debt was incurred
         Last 4 digits of account number 8857                      Is the claim subject to offset?     No       Yes


3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,020.00
         Laura Solomon & Associates                                   Contingent
         121 Sibley Ave.                                              Unliquidated
         Ardmore, PA 19003                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $250,000.00
         Lenfest Enterprises                                          Contingent
         676 E Swedesford Road, Ste 350B                              Unliquidated
         Wayne, PA 19087                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Promissory Loan
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,701.00
         LHH                                                          Contingent
         205 Newbury St., Suite. 303                                  Unliquidated
         Date(s) debt was incurred                                    Disputed
         Last 4 digits of account number 0773                      Basis for the claim:

                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,221.00
         Linton's Managed Service                                     Contingent
         7979 State Rd.                                               Unliquidated
         Philadelphia, PA 19136                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 022A
                                                                   Is the claim subject to offset?     No       Yes

3.53     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,007.50
         Margolis Edelstein                                           Contingent
         170 S Inedependence Mall, W                                  Unliquidated
         Curtis Center, Suite 400E                                    Disputed
         Philadelphia, PA 19106
                                                                   Basis for the claim: legal services
         Date(s) debt was incurred 7/2023
         Last 4 digits of account number 4002                      Is the claim subject to offset?     No       Yes


3.54     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $190,500.00
         Miles Wilson (Estate of)                                     Contingent
         c/o Stephanie Tryce                                          Unliquidated
         718 E Vernon Road                                            Disputed
         Philadelphia, PA 19119
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.55     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $20,600.00
         Milligan & Co                                                Contingent
         105 N 22nd st                                                Unliquidated
         Philadelphia, PA 19103                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 8528
                                                                   Is the claim subject to offset?     No       Yes

3.56     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,250.00
         Mushyra Wright                                               Contingent
         212 Wright Avnue                                             Unliquidated
         Darby, PA 19023                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 023A
                                                                   Is the claim subject to offset?     No       Yes

3.57     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         New Jersey Department of Labor                               Contingent
         1 John Fitch Plaza                                           Unliquidated
         Trenton, NJ 08625                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: notice only
         Last 4 digits of account number 8916
                                                                   Is the claim subject to offset?     No       Yes

3.58     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         New Jersey Office of Attorney General
         Richard Hughes Justice Complex                               Contingent
         25 Market St                                                 Unliquidated
         po box 112                                                   Disputed
         Trenton, NJ 08625
                                                                   Basis for the claim: notice only
         Date(s) debt was incurred
         Last 4 digits of account number 8916                      Is the claim subject to offset?     No       Yes


3.59     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,000.00
         niche clinic                                                 Contingent
         548 S 54th St Apt 2                                          Unliquidated
         Philadelphia, PA 19143                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 75
                                                                   Is the claim subject to offset?     No       Yes

3.60     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,600.00
         One America                                                  Contingent
         103 Carnegie Center Dr # 315                                 Unliquidated
         Princeton, NJ 08540                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3121
                                                                   Is the claim subject to offset?     No       Yes

3.61     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         PA Department of Labor
         Office of Chief Counsel                                      Contingent
         10th Floor                                                   Unliquidated
         651 Boas St                                                  Disputed
         Harrisburg, PA 17121
                                                                   Basis for the claim: notice only
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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3.62     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         PA State Collection & Disbursement Unit                      Contingent
         po bx 69112                                                  Unliquidated
         Harrisburg, PA 17106                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: notice
         Last 4 digits of account number 9160
                                                                   Is the claim subject to offset?     No       Yes

3.63     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,788.50
         Paycom Payroll LLC                                           Contingent
         7501 W. Memorial Rd                                          Unliquidated
         Oklahoma City, OK 73142                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number HB86
                                                                   Is the claim subject to offset?     No       Yes

3.64     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Peter Winebrake                                              Contingent
         715 Twining Road, Suite 211                                  Unliquidated
         Dresher, PA 19025
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: notice only
         Last 4 digits of account number
                                                                   class action case 2:23 cv 02809
                                                                   Is the claim subject to offset?     No       Yes

3.65     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,233.00
         Philadelphia Housing Authority Developme                     Contingent
         1234 Market Street                                           Unliquidated
         Philadelphia, PA 19107                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.66     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,800.00
         Philadelphia Insurance Companies                             Contingent
         PO Box 70251                                                 Unliquidated
         Philadelphia, PA 19176                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 1484
                                                                   Is the claim subject to offset?     No       Yes

3.67     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,150.00
         Philadelphia Outward Bound                                   Contingent
         3401 Reservoir Drive                                         Unliquidated
         Philadelphia, PA 19121                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2265
                                                                   Is the claim subject to offset?     No       Yes

3.68     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,350.00
         Picasso Contracting LLC                                      Contingent
         618 E Durham St                                              Unliquidated
         Philadelphia, PA 19119                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2823
                                                                   Is the claim subject to offset?     No       Yes




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3.69     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $435.00
         Pitney Bowes                                                 Contingent
         Global Financial Services LLC                                Unliquidated
         PO Box 371887                                                Disputed
         Pittsburgh, PA 15250-7874
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 7789                      Is the claim subject to offset?     No       Yes


3.70     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $7,600.00
         PPI Benefit Soluntions, Inc.                                 Contingent
         10 Research Pkwy Suite 200                                   Unliquidated
         Wallingford, CT 06492                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 3PPI
                                                                   Is the claim subject to offset?     No       Yes

3.71     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $30.00
         ready fresh by nestle                                        Contingent
         PO Box 856680                                                Unliquidated
         Louisville, KY 40285                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.72     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $85,250.00
         research for action                                          Contingent
         100 S Broad St #700                                          Unliquidated
         Philadelphia, PA 19110                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number orks
                                                                   Is the claim subject to offset?     No       Yes

3.73     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $12,000.00
         salesforce.org                                               Contingent
         415 Mission Street, 3rd Floor                                Unliquidated
         San Francisco, CA 94105                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2698
                                                                   Is the claim subject to offset?     No       Yes

3.74     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $6,014.70
         SAP Concur                                                   Contingent
         601 108th Ave NE                                             Unliquidated
         Ste 1000                                                     Disputed
         Bellevue, WA 98004
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 0552                      Is the claim subject to offset?     No       Yes


3.75     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         Smart Payables                                               Contingent
         12742 E Caley Ave, Suite 2c                                  Unliquidated
         Centennial, CO 80111                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Education Works Inc.                                                            Case number (if known)
            Name

3.76     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,366.00
         solar states                                                 Contingent
         1508 N American St                                           Unliquidated
         Philadelphia, PA 19122                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 6701
                                                                   Is the claim subject to offset?     No       Yes

3.77     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27,000.00
         spring arts llc                                              Contingent
         601 Spring Garden St                                         Unliquidated
         Philadelphia, PA 19123                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2000
                                                                   Is the claim subject to offset?     No       Yes

3.78     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $360.00
         Staples Business Advantage                                   Contingent
         PO Box 70242                                                 Unliquidated
         Philadelphia, PA 19176-0242                                  Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.79     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $0.00
         Steven Barrett Esquire                                       Contingent
         1684 S Broad St, Ste 230                                     Unliquidated
         PO BOX 1479                                                  Disputed
         Lansdale, PA 19446
                                                                   Basis for the claim: notice only
         Date(s) debt was incurred
                                                                   represents estate of Miles Wilson
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.80     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,030.00
         TD Bank                                                      Contingent
         1701 Marlton Pike E, Suite 200                               Unliquidated
         Cherry Hill, NJ 08034                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.81     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $5,418.00
         true screen inc                                              Contingent
         1105 Industrial Blvd                                         Unliquidated
         Southampton, PA 18966                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number 2248
                                                                   Is the claim subject to offset?     No       Yes

3.82     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          Unknown
         us attorneys office                                          Contingent
         615 chestnut street, 12th floor                              Unliquidated
         Philadelphia, PA 19106                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: notice only
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Education Works Inc.                                                                   Case number (if known)
             Name

3.83      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,131.00
          us medical staffing inc                                             Contingent
          1420 Walnut St Suite 1350                                           Unliquidated
          Philadelphia, PA 19102                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 1163
                                                                           Is the claim subject to offset?      No       Yes

3.84      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $126,000.00
          verizon wireless                                                    Contingent
          1095 Avenue of the Americas                                         Unliquidated
          New York, NY 10036                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 6255
                                                                           Is the claim subject to offset?      No       Yes

3.85      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $4,000.00
          vertical screen                                                     Contingent
          Truescreen Inc                                                      Unliquidated
          po box 1675                                                         Disputed
          Southampton, PA 18966
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number 1825                             Is the claim subject to offset?      No       Yes


3.86      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,330.00
          vox net                                                             Contingent
          400 Davis Drive, Ste 400                                            Unliquidated
          Plymouth Meeting, PA 19462                                          Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?      No       Yes

3.87      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,505.00
          your part-time controller                                           Contingent
          1500 Walnut St #1200                                                Unliquidated
          Philadelphia, PA 19102                                              Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number 1980
                                                                           Is the claim subject to offset?      No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       Amy Derstine
          Senior Relationship VP                                                                    Line     3.80                                   4959
          TD Bank
                                                                                                           Not listed. Explain
          2005 Market St, 2nd Flr
          Philadelphia, PA 19103

4.2       C2C Resources
          1455 Lincoln Pkwy E                                                                       Line     3.48
          Ste 550
                                                                                                           Not listed. Explain
          Atlanta, GA 30346



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            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.3       Cori Campbell
          Verizon Business group                                                       Line     3.84
          6929 N Lakewood Ave
                                                                                              Not listed. Explain
          Tulsa, OK 74117

4.4       David Delciotto, Bureau Investigator
          Dept Labor & Industry                                                        Line     2.105
          110 N 8th Street, Suite 203
                                                                                              Not listed. Explain
          Philadelphia, PA 19107

4.5       Kaityn Spehar
          Executive Director                                                           Line     3.61
          651 Boas St, Rm 1306
                                                                                              Not listed. Explain
          Harrisburg, PA 17121

4.6       Latoria Williams
          42 Ashmead Pl                                                                Line     2.141
          Philadelphia, PA 19144
                                                                                              Not listed. Explain

4.7       Picasso Contracting
          1215 B ST                                                                    Line     3.68
          Wilmington, DE 19801
                                                                                              Not listed. Explain

4.8       Staples
          2134 Street Road                                                             Line     3.78
          Bensalem, PA 19020
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                  1,012,175.77
5b. Total claims from Part 2                                                              5b.    +     $                  1,463,058.70

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                    2,475,234.47




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 76 of 76
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Fill in this information to identify the case:

Debtor name        Education Works Inc.

United States Bankruptcy Court for the:      EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           lease of building
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    Arts and Crafts
             List the contract number of any                                        601 Spring Garden St, suite 500
                   government contract                                              Philadelphia, PA 19123


2.2.         State what the contract or           storage
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    CubeSmart Self Storage
             List the contract number of any                                        777 Mayfair Street
                   government contract                                              Philadelphia, PA 19124


2.3.         State what the contract or           storage
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    DocuVault
             List the contract number of any                                        1395 Imperial Way
                   government contract                                              Paulsboro, NJ 08066


2.4.         State what the contract or           leased equipment
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            fraser advanced info systems
                                                                                    Three Bala Plaza West
             List the contract number of any                                        251 St Asaphs Rd Suite 105W
                   government contract                                              Bala Cynwyd, PA 19004




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                   Page 1 of 2
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Debtor 1 Education Works Inc.                                                    Case number (if known)
          First Name         Middle Name           Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                          State the name and mailing address for all other parties with
                                                                    whom the debtor has an executory contract or unexpired
                                                                    lease

2.5.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining       2025
                                                                        research for action
          List the contract number of any                               100 S Broad St #700
                government contract                                     Philadelphia, PA 19110


2.6.      State what the contract or        leased
          lease is for and the nature of    equipment/phone
          the debtor's interest             service

             State the term remaining
                                                                        verizon wireless
          List the contract number of any                               1095 Avenue of the Americas
                government contract                                     New York, NY 10036




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                Page 2 of 2
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Fill in this information to identify the case:

Debtor name      Education Works Inc.

United States Bankruptcy Court for the:   EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Education Works Inc.

United States Bankruptcy Court for the:    EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                            $1,567,766.00
      From 1/01/2023 to Filing Date                                                                unaudited grants/AR
                                                                                          Other    through 3/2023


      For prior year:                                                                     Operating a business                            $3,013,461.00
      From 1/01/2022 to 12/31/2022                                                                 unaudited
                                                                                                   grants/accounts
                                                                                          Other    receivable


      For year before that:                                                               Operating a business                            $2,115,065.00
      From 1/01/2021 to 12/31/2021                                                                 grants/accounts
                                                                                          Other    receivable

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

      For year before that:
      From 1/01/2021 to 12/31/2021                                                    promise to give receivable                            $200,000.00


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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          None.

      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Richards v. Education Works               class action                US DC Eastern District of                     Pending
             2:23-cv-02809                                                         PA                                            On appeal
                                                                                                                                 Concluded

      7.2.   Reinvestment Fund v                       Confession of               Philadelphia CCP                              Pending
             Education Works                           Judgment                                                                  On appeal
             23001353
                                                                                                                                 Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions


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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Dilworth Paxson LLP
               1500 Market Street
               Suite 3500E
               Philadelphia, PA 19102                    Attorney Fees                                                 7/2023                   $35,800.00

               Email or website address
               lmcmichael@dilworthlaw.com

               Who made the payment, if not debtor?
               Education Works



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations
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14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Student records
                 Employee HR information
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was              Last balance
              Address                                  account number              instrument                  closed, sold,             before closing or
                                                                                                               moved, or                          transfer
                                                                                                               transferred
      18.1.     Wells Fargo                            XXXX-7403                      Checking                 4/23                                  $0.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other



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Debtor      Education Works Inc.                                                                 Case number (if known)



19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      cubesmart                                              unknown                               school supplies, general                       No
                                                                                                   physical items                                 Yes

      docuvault                                              unknown                                sensitive client documents,                   No
                                                                                                   student records, participant                   Yes
                                                                                                   records



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None

      Owner's name and address                               Location of the property              Describe the property                                  Value
      Jhalil Hardrick                                        dilworth vault                        Returned Check for Wages                              $64.12
      PO BOX 50221
      Philadelphia, PA 19132

      Owner's name and address                               Location of the property              Describe the property                                  Value
      Children First PA                                      dilworth vault                        Possible Misdelivered check                           $24.08
      990 Spring Garden St
      6th Floor
      Philadelphia, PA 19123

      Owner's name and address                               Location of the property              Describe the property                                  Value
      Tech Bridge                                            990 Spring Garden                     Multiple Boxes by Front door                      Unknown
                                                                                                   of office. Should be returned
                                                                                                   to Tech Bridge


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

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Debtor      Education Works Inc.                                                               Case number (if known)



Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                           Court or agency name and              Nature of the case                            Status of case
      Case number                                          address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                Governmental unit name and                Environmental law, if known               Date of notice
                                                           address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                            Describe the nature of the business               Employer Identification number
                                                                                                      Do not include Social Security number or ITIN.

                                                                                                      Dates business existed
   25.1.    Education Works                         non-profit, service learning,                     EIN:         XX-XXXXXXX
                                                    education/workforce development
                                                                                                      From-To      2001


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                Date of service
                                                                                                                                      From-To
      26a.1.        Joyce Miller & Associates                                                                                         7/22 to present
                    One Penn Center
                    1617 JFK Blv #1010
                    Philadelphia, PA 19103
      26a.2.        your part-time controller                                                                                         2015-7/22
                    1500 Walnut St #1200
                    Philadelphia, PA 19102
      26a.3.        Clifton Larson Allen                                                                                              2022-2023


      26a.4.        Milligan & Company, LLC
                    105 N 22nd St
                    Philadelphia, PA 19103

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Debtor      Education Works Inc.                                                                Case number (if known)



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.1.        Milligan and Company, LLC                                                                                       2019-2023
                    105 N 22nd St
                    Philadelphia, PA 19103
      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26b.2.        Joyce Miller & Associates                                                                                       7/22 to present
                    one Penn Center                                                                                                 grant allocation &
                    1617 JFK Blv #1010                                                                                              compliance
                    Philadelphia, PA 19103

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Joyce Miller
                    One Penn Center
                    1617 JFK Blv #1010
                    Philadelphia, PA 19103
      26c.2.        Milligan & Co
                    105 N 22nd st
                    Philadelphia, PA 19103

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Reinvestment Fund


      26d.2.        Other unknown entities



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?




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Debtor      Education Works Inc.                                                               Case number (if known)




           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Gregory Delozier                                                                           VP President, Business             Furloughed/laid
                                                                                                 Development                        off 2023

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Miles Wilson                                                                               President/CEO -                    end 2023
                                                                                                 deceased

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Claire Allamby                                                                             Chief Advancement                  Furloughed/laid
                                                                                                 Officer                            off 2023

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Jamil Rivers                                                                               CFO                                Furloughed/laid
                                                                                                                                    off 2023

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Tiffany Waters                                                                             Chief Operating Officer            Furloughed/laid
                                                                                                                                    off 2023

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Julia Hillengas                        5128 Larchwood Avenue                               Executive Director of
                                             Philadelphia, PA 19143                              PowerCorp


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.


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Debtor      Education Works Inc.                                                                Case number (if known)



   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         August 24, 2023

/s/ Marc Orlow, Esquire                                         Marc Orlow, Esquire
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Interim Board Chair

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Eastern District of Pennsylvania
 In re       Education Works Inc.                                                                              Case No.
                                                                              Debtor(s)                        Chapter    7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                   $                  35,800
             Prior to the filing of this statement I have received                                         $                  35,800
             Balance Due                                                                                   $                    0.00

2.   $      338     of the filing fee has been paid.

3.   The source of the compensation paid to me was:
                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for the following:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required pre-petition;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Discussions with secured and unsecured creditors pre-petition; Consultations related to class action and
             confession of judgment pre-petition; Consultations related to recovery of property pre-petition; Extensive work
             related to unusual circumstance of no executives; Advising the remaining members of the board related to
             bankruptcy, lawsuits, obligations and liability pre-petition; discussions with department of labor pre-petition;
             Further the Fee Agreement and the fee structure therein between Dilworth Paxson LLC and the Debtor are
             specifically incorporated herein.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, post-petition work with the exception of
             attendance at the meeting of creditors; judicial lien avoidances, relief from stay actions or any other adversary
             proceeding. Further the Fee Agreement and the fee structure therein between Dilworth Paxson LLC and the
             Debtor are specifically incorporated herein.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 16, 2023                                                          /s/ Georgette Miller
     Date                                                                     Georgette Miller
                                                                              Signature of Attorney
                                                                              Dilworth Paxson LLP
                                                                              1500 Market Street
                                                                              Suite 3500E
                                                                              Philadelphia, PA 19102
                                                                              215-575-7000 Fax: 215-575-7200
                                                                              gmiller@dilworthlaw.com
                                                                              Name of law firm
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                                               United States Bankruptcy Court
                                                   Eastern District of Pennsylvania
 In re   Education Works Inc.                                                                    Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Interim Board Chair of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




Date:     August 24, 2023                                /s/ Marc Orlow, Esquire
                                                         Marc Orlow, Esquire/Interim Board Chair
                                                         Signer/Title
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                        a1 the pros llc
                        508 Hoffman St
                        Philadelphia, PA 19148



                        aaj design
                        124 N 3rd St
                        Philadelphia, PA 19106



                        Aaron Coleman




                        Aaron Townson
                        2718 S Sheridan St
                        Philadelphia, PA 19148



                        Abigail Torres




                        Academy of Natural Sciences
                        1900 Benjamin Franklin Pkwy
                        Philadelphia, PA 19103



                        Adrian McGill
                        524 Wartman St
                        Philadelphia, PA 19128



                        Ahmad Shubert




                        Ahzhay Jackson




                        Alana Cooper-Russ
                        500 Chews Landing Road
                        Clementon, NJ 08021
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                    Alex Hernandez




                    Alexander Bermudez




                    Alexis Gonzalez




                    Ali Martinez




                    Alijandrina Martinez
                    4850 D Street
                    Philadelphia, PA 19120



                    Allisa Lopez
                    4801 N 10th Street
                    Philadelphia, PA 19141



                    AM trust North America
                    59 Maiden Lane 42nd Floor
                    New York, NY 10038



                    Ameriflex
                    7 Carnegie Plaza
                    #200
                    Cherry Hill, NJ 08003



                    Amy Derstine
                    Senior Relationship VP
                    TD Bank
                    2005 Market St, 2nd Flr
                    Philadelphia, PA 19103



                    Andy Martinez
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                    Angel Layes




                    Anjanett Reese
                    1116 E Mt Airy Ave, Apt c7
                    Philadelphia, PA 19150



                    Anthony Maldonado




                    Anthony Odom Jr




                    Anthony Turner JR




                    Antoinette Chambliss




                    Anton Jackson




                    Antwan Youngbey




                    apex pizza
                    298 Levering Mill Rd
                    Bala Cynwyd, PA 19004



                    Arthur Gallagher Risk Management
                    40 W Front St
                    Media, PA 19063
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                    Arts and Crafts
                    601 Spring Garden St, stuie 500
                    Philadelphia, PA 19123



                    Arts and Crafts
                    601 Spring Garden St, suite 500
                    Philadelphia, PA 19123



                    Asher Robinson




                    Ashleigh Marshall




                    AShley Pearsall




                    Ashly Seawright




                    B&L janitorial services
                    915 Spring Garden St
                    Philadelphia, PA 19123



                    Basheer Hairston




                    Bashir Boulton




                    Beacon Hill Staffing Group
                    1835 Market St Unit 725
                    Philadelphia, PA 19103
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                    Bellevue Communications Group
                    200 S Broad St # 850
                    Philadelphia, PA 19102



                    berks county community foundation
                    237 Court St
                    Reading, PA 19601



                    Branden Gordan




                    brandon watts




                    Brenda Johnson




                    Brennan Schmidt




                    Brian Davis
                    641 Kerper St
                    Philadelphia, PA 19111



                    Briani Buxton




                    Brianna Bey
                    1260 Kerper St
                    Philadelphia, PA 19111



                    Brianna Lopez Popote
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                    butterfly love consultations llc
                    225 E City Ave #16
                    Bala Cynwyd, PA 19004



                    C2C Resources
                    1455 Lincoln Pkwy E
                    Ste 550
                    Atlanta, GA 30346



                    Caleb Gravely




                    cambium carbon pbc
                    11 Dupont Cir Nw Ste 575
                    Washington, DC 20036



                    Camerin Williams
                    4061 Powelton Ave
                    Philadelphia, PA 19104



                    Camiren Williams




                    Carlos Alvarez




                    Carmen Nieves-Dorvil




                    Caseem McNair




                    Cassius Cohen
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                    cedar advance
                    2917 Avenue I
                    Brooklyn, NY 11210



                    Celeste Peterson
                    1329 N 60th
                    Philadelphia, PA 19151



                    Charlene Newbill




                    Cheryl McFadden
                    1504 E Duval Street
                    Philadelphia, PA 19138



                    chester county intermediate unit
                    455 Boot Rd.
                    Downingtown, PA 19335



                    Christian Sullivan=Pelzer




                    Christopher Ocasio Skerrett




                    Claire Allamby




                    clay studio address
                    1425 N American Street
                    Philadelphia, PA 19122



                    CloudFund LLC
                    187 Wolf Rd, Suite 101
                    Albany, NY 12205
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                    comcast
                    1701 John F Kennedy Blvd
                    Philadelphia, PA 19103



                    Concur Technologies, Inc.
                    62157 Collections Center Drive
                    Chicago, IL 60693



                    Conway Wiltshire




                    copy products
                    101 E Township Line Rd
                    Upper Darby, PA 19082



                    Cori Campbell
                    Verizon Business group
                    6929 N Lakewood Ave
                    Tulsa, OK 74117



                    creative marketing alliance
                    191 Clarksville Rd
                    Princeton Junction, NJ 08550



                    crw graphics
                    9100 Pennsauken Hwy
                    Pennsauken, NJ 08110



                    CubeSmart Self Storage
                    777 Mayfair Street
                    Philadelphia, PA 19124



                    curalinc llc
                    314 W Superior St #601
                    Chicago, IL 60654
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                    Dahnek Milliner




                    Dana Griffith
                    549 E Maryland Street
                    Philadelphia, PA 19144



                    Daniel Lawson
                    731 Manton St
                    Philadelphia, PA 19147



                    Daquan Eaddy




                    Darlell Jones
                    5322 N Pulaski Ave, Apt B
                    Philadelphia, PA 19144



                    Darryl Ford
                    7912 Michener Avenue
                    Philadelphia, PA 19150



                    David Delciotto, Bureau Investigator
                    Dept Labor & Industry
                    110 N 8th Street, Suite 203
                    Philadelphia, PA 19107



                    David Dickerson
                    4019 Markland Street
                    Philadelphia, PA 19124



                    Dawn Johnsn




                    dba snelling
                    111 SPRINGHALL DR
                    Goose Creek, SC 29445
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                    de lage landen
                    1111 Old Eagle School Rd
                    Wayne, PA 19087



                    Deborah Robinson
                    2519 S Ashford Street
                    Philadelphia, PA 19153



                    Demetrics McGhee




                    Denzel Johnson




                    Destiny Lewis
                    881 N Farson St
                    Philadelphia, PA 19139



                    Devin Hamilton
                    5110 Pulaski Ave
                    Philadelphia, PA 19144



                    Devonte Grant




                    Diana Cortes, City Solicitor
                    city of philadelphia legal department
                    1401 J.F.K. Blvd., 5th Floor
                    Philadelphia, PA 19102-1595



                    DocuVault
                    1395 Imperial Way
                    Paulsboro, NJ 08066



                    Dominic Speach
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                    Donna Williams-Griffin




                    Dwayne Graham




                    dynsasty




                    Edwin Murchison Jr




                    Edwom Soler III




                    Electronic Security Solutions
                    5115 Campus Drive
                    Plymouth Meeting, PA 19462



                    Eli Perez




                    Elijah Pagan




                    Ella Combs




                    enterprise rent a car
                    600 Corporate Park Drive;
                    Saint Louis, MO 63105



                    Erica Kane
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                    Erica Wade
                    210 N 9th Street
                    Darby, PA 19023



                    Ethan Smith
                    4142 N. Darien St
                    Philadelphia, PA 19140



                    Event Morris
                    7167 Glenloch St
                    Philadelphia, PA 19135



                    Fatimah Cahoon




                    fieldprint inc
                    12000 Commerce Pkwy #100,
                    Mount Laurel, NJ 08054



                    first contact HR
                    535 West Pennsylvania Ave. Suite 101
                    Fort Washington, PA 19034



                    FMA Professional Resources Inc
                    1494 Old York Rd,
                    Abington, PA 19001



                    Frank Rivera




                    fraser advanced info systems
                    Three Bala Plaza West
                    251 St Asaphs Rd Suite 105W
                    Bala Cynwyd, PA 19004
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                    gallagher benefit services
                    100 Matsonford Road, Three, Radnor Corpo
                    Radnor Corporate Center Suite 100,
                    Wayne, PA 19087



                    Gentris Jointe




                    George Dorsey




                    Geraldy Gomez Urena




                    Germinha Gabriel
                    1720 Bleigh Avenue
                    Philadelphia, PA 19111



                    Ghandi Powell




                    Gloria Alexander




                    great america
                    4701 Great America Pkwy
                    Santa Clara, CA 95054



                    Greater Philadelphia Chamber Commerce
                    200 South Broad Street Suite 700
                    Philadelphia, PA 19102



                    Greg Smith
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                    Gregory DeLozier
                    417 Fordham Rd
                    Woodbury Heights, NJ 08097



                    Hanover Insurance Group
                    440 Lincoln Street;
                    Worcester, MA 01653



                    Haydeelin Martinez De Jesus




                    heart of the city inc




                    Hiram Joseph




                    Ian Ross
                    297 Horton Road
                    Newtown Square, PA 19073



                    Ikia Phelps




                    Inaya Badie




                    independence blue cross
                    1901 Market Street
                    Philadelphia, PA 19103



                    infoarmor inc
                    7350 N Dobson Rd #101
                    Scottsdale, AZ 85256
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                    ink it digital corporation
                    836 South St 2nd floor
                    Philadelphia, PA 19147



                    irs
                    po box 7346
                    Philadelphia, PA 19101



                    Isaac Roman




                    Jacqueline Briggs




                    Jade Fox




                    Jaguar Patterson




                    Jahquill Brown-Watson




                    Jaiden Liggett




                    Jaleel Harley




                    Jaleel Williford




                    James Burke
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                    James Plewes




                    Jamil Johnson




                    Jamil Rivers
                    429 School House Rd
                    Williamstown, NJ 08094



                    Jamil Williams
                    3056 N Swanson St
                    Philadelphia, PA 19134



                    Jaribel James
                    7903 Gilbert Street
                    Philadelphia, PA 19150



                    Jasmine Oglesby




                    Jaydrian Calzadilla




                    Jazmyn Bladen




                    Jeffery Woodard




                    Jeffrey Williams Jr
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                    Jeme Consulting Group
                    7014 13TH AVENUE, SUITE 202
                    Brooklyn, NY 11228



                    Jenae Washington
                    128 S 54th St Apt B
                    Philadelphia, PA 19139



                    Jennifer Cedeno Aquino




                    Jevon Laguerre




                    Jewel Scott




                    John Valdivia Moreno




                    John White




                    John Williams
                    1522 S Patton Street
                    Philadelphia, PA 19146



                    Joseph Beideman Jr




                    Joseph Johnson
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                    Joyce Miller
                    One Penn Center
                    1617 JFK Blv #1010
                    Philadelphia, PA 19103



                    Julia Hillengas
                    5128 Larchwood Avenue
                    Philadelphia, PA 19143



                    Julius Clark




                    June Gredic-Almond
                    1426 S 31st Street
                    Philadelphia, PA 19146



                    Justice Goldsmith




                    Kaityn Spehar
                    Executive Director
                    651 Boas St, Rm 1306
                    Harrisburg, PA 17121



                    Kalef Jones
                    4516 N Camac St
                    Philadelphia, PA 19140



                    Kasir Spearman




                    Keanan Flood




                    Kelly Wilson
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                    Kenya Baldwin
                    6304 Ogontz Ave
                    Philadelphia, PA 19141



                    Kenya Hamilton




                    Kenzie Bornstein




                    Keshaun Glover




                    Kevin Brown
                    6004 Nassau Road
                    Philadelphia, PA 19151



                    Khalil Green




                    Khaneshia Gredic
                    1426 S 31st St
                    Philadelphia, PA 19146



                    Kimberly Hunter
                    1906 Foulkrod Place
                    Philadelphia, PA 19124



                    KPInterface
                    477 N Lewis Rd
                    Unit 210
                    Royersford, PA 19468



                    Kristina Way
                    1222 W Tucker Street
                    Philadelphia, PA 19133
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                    Labrina Brown
                    3541 N 19th St
                    Philadelphia, PA 19140



                    Larbina Brown




                    Latif Burnett




                    Latifah Douglas




                    Latoria Williams
                    42 Ashmead Pl
                    Philadelphia, PA 19144



                    Latoria Williams-Anderson
                    7332 Briar Road
                    Philadelphia, PA 19138



                    Laura Solomon & Associates
                    121 Sibley Ave.
                    Ardmore, PA 19003



                    Lenfest Enterprises
                    676 E Swedesford Road, Ste 350B
                    Wayne, PA 19087



                    LHH
                    205 Newbury St., Suite. 303



                    Lillie Lewis
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                    Linda Pierce




                    Linton's Managed Service
                    7979 State Rd.
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                    William Ford
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                    Yasmine Montgomery




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                                         United States Bankruptcy Court
                                            Eastern District of Pennsylvania
 In re   Education Works Inc.                                                       Case No.
                                                            Debtor(s)               Chapter    7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Education Works Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




August 24, 2023                                /s/ Georgette Miller
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